                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                            ARRAIGNMENT AND PLEA HEARING

UNITED STATES OF AMERICA,                                    AMENDED COURT MINUTES
                                                              BEFORE: Hon. Eric C. Tostrud
                                                               United States District Judge
                            Plaintiff,
                                                    Case No.:            21-CR-218(1) (ECT/BRT)
            v.                                      Date:                January 21, 2022
                                                    Court Reporter:      Tim Willette
REYEL DEVON SIMMONS,                                Courthouse:          St. Paul
REY REEVES,                                         Courtroom:           13E
                                                    Time in Court:       10:11 a.m. – 11:11 a.m.
                            Defendant.              Total Time:          1 Hour 0 Minutes

APPEARANCES:

      For Plaintiff:        Alexander Chiquoine, United States Attorney’s Office
      For Defendant:        James Becker  FPD,  CJA,  Retained,  Appointed

Interpreter/Language:       None / English

PROCEEDINGS:
 Arraignment:
       Offense:    18:912 Impersonating an Officer of the United States
                   18:922(g)(1) and 924(a)(2) Felon in Possession of Firearms

 Reading of Indictment waived.

 Advised of Rights

 Change of Plea Hearing.

 PLEA:
       Guilty as to Counts 1 and 2 of the Indictment.

 Presentence Investigation and Report requested.

 Remanded to the Custody of U.S. Marshal.



                                                                                              s/ R. Morton
                                                                                        Courtroom Deputy
